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                         UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                    (READING)

 In re:                                                   Chapter 13

 Christa L. Hartman                                       Case No.: 18-13075-pmm
           Debtors



          ORDER FOR RELIEF FROM THE AUTOMATIC STAY AND CODEBTOR STAY

                        9th day of ________________,
          AND NOW, this _____      January, 2023 upon the Motion of Wilmington Trust,

National Association, not in its individual capacity, but solely as trustee for MFRA Trust 2014-2

(“Movant”), and after Notice of Default and the filing of a Certification of Default, it is,

          ORDERED AND DECREED THAT: Relief is granted from the automatic stay provisions of 11

U.S.C. § 362(a) and Co-Debtor stay provision of U.S.C. §1301 is modified with respect to premises, 288

Poplar Street, Fleetwood, PA 19522 as more fully set forth in the legal description attached to said

mortgage, to allow the Movant to foreclose on its mortgage or take any legal or consensual action

enforcement of its right to possession of, or title to, said premises (such actions may include but are not

limited to the signing of a deed in lieu of foreclosure or entering into a loan modification agreement) and

to allow the purchaser of said premises at Sheriff’s Sale (or purchaser’s assignee) to take any legal or

consensual action for enforcement of its right to possession of, or title to, said premises; and it is further;

          ORDERED AND DECREED THAT: Relief granted by this Order shall survive the conversion of

this bankruptcy case to a case under any other Chapter of the Bankruptcy Code. Rule 4001(a)(3) is not

applicable and may immediately enforce and implement this Order granting Relief from the Automatic

Stay.



                                                                  ___________________________________
                                                                      Patricia M. Mayer, U.S.B.J.
